m `L w N

\DOO\!O'\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

§

Case 05-02225§ F@/o?,/oa Doc 234

 

F|LED

MAH ~3 2008

 

POSTED ON WEBSITE
NOT FOR PUBLICATION

 

 

 

UNITED STATES BANKRUPTCY COUR'I uNlTED.sWEs BANKRuPTcY counT

EASTERN DlSTR|CT OF CAL|FORN|A

 

 

EASTERN DISTRICT OF CALIFORNIA

In rec Case No. 05»22777-D-7

MELANIE HUGHES,

Debtor.

 

CLAYEO C. ARNOLD and CLAYEO'
ARNOLD, PROFESSIONAL LAW

Adv. Pro. No. 05-2225-D

CORPORATION, , DC NOS. ARP-4, ARP~6
Plaintiffs, Date: February 27, 2008
-Time: lO:OO a.m.
v. Dept: D
MELANIE HUGHES,
Defendant.

V\/v\/vvvvaVV\/\/Vv\/VV`_/V

 

This memorandum decision is not approved for publication and may
not be cited except when relevant under the doctrine of law of
the case or the rules of claim preclusion or issue preclusion.
MEMORANDUM DECISION

On October 3, 2007, Clayeo C. Arnold and Clayeo Arnold,
Professional Law Corporation (“Plaintiffs”) filed a Motion for
Relief from the Automatic Stay, bearing Docket Control No. ARP-S
(“the Motion”)l The Motion was filed in the above§captioned
parent bankruptcy case, Case No. 05-22777-D-7. On November`l4,
2007, Melanie Hughes (“Defendant”), as the debtor in the

bankruptcy case, filed opposition to the Motion (“the

Opposition”). For the reasons set forth below, the court Will

 

 

\OOO\IO’\Ul-l>b~)l\)

10
11
12
13
14
15
16
17
' 18
19
20
21
22
23
24
25
26
27
28

 

 

 

Case 05-02225 Filed 03/03/08 DOC 234

deny the Motion as moot, and will do so by way of an order in the
parent bankruptcy case, In addition, the court will construe the
Opposition as a counter-motion for certification of a final
judgment in Arnold v. Hughes, Adversary Proceeding No. 05-2225-D
(“the adversary proceeding”), and will grant the counter-motion.1
I. INTRODUCTION

On March 14, 2005, the Defendant filed a petition for relief
under chapter 7 of the Bankruptcy Code, thereby commencing this
bankruptcy case. On June 14, 2005, the Plaintiffs filed a
Complaint to Determine‘Dischargeability of Debts and for Denial
of Discharge, thereby commencing the adversary proceeding. The
factual background of this matter is set forth generally in the
court's memorandum decision on the Plaintiffs’ motion for summary
judgment in the adversary proceeding, filed August 24, 2007, and
will not be repeated here. As in that decision, references
herein to the state court action will be to Rieger v. Arnold, et
al;, Sacramento County Superior Court Case No. 97ASO3390, and
“the attorney's fee award” will refer to the state court's award
of attorney's fees and costs in favor of the Plaintiffs and
against the Defendant.

On October 3, 2007, the Plaintiffs filed the Motion,
together with a declaration of Clayeo Arnold, and as required by
Local Bankruptcy Rule 4001-l(c), a Relief from Stay Information

Sheet. On November 14, 2007, the Defendant filed the Opposition,

 

l. As the Motion was filed in the parent case, and the
Defendant seeks certification of a final judgment in the related
adversary proceeding, this memorandum will be filed under Docket
Control No. ARP-S in the parent case and under Docket Control Nos.
ARP-4 and ARP-6 in the adversary proceeding.

_ 2 _

 

b.)[\)

\DOO\]O\Ll!-$>

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
l 28

 

 

Case 05-02225 Filed 03/03/08 DOC 234

together with exhibits and her declaration. On November 2l,
2007, the Plaintiffs filed a reply to the Opposition. On January
22, 2008, the Defendant filed a supplemental opposition to the
Motion. The Motion was argued on February 13, 2008, Amelia
Pritchard appearing for the Plaintiffs, and the Defendant
appearing on her own behalf. The court continued the hearing for
further briefing, and the parties filed supplemental briefs on
February 19, 2008.

On February 27, 2008, the Motion came on for final hearing,
Amelia Pritchard appearing for the Plaintiffs, and the Defendant
appearing on her own behalf. The court advised the parties of
its tentative decision to certify a final judgment in the
adversary proceeding, as discussed below, and heard additional
remarks from both parties.

In the Motion, the Plaintiffs seek an order determining that
the automatic stay of ll U.S C. § 362(a) was lifted upon entry of
this court's August 24, 2007 order granting the Plaintiffs'
motion for partial summary judgment in the adversary proceeding
(“the Partial Summary Judgment Order”), or alternatively, lifting
the stay to permit them to exercise their rights under applicable
state law.

The Defendant responds that no judgment of nondischarge-
ability has been entered, and that the Plaintiffs have failed to
establish that either claim preclusion or issue preclusion
applies to the issue of nondischargeability, for purposes of the
///

/_//
///

 

\OOO\!O\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 05-02225 Filed 03/03/08 DOC 234

Motion.2 The court construes the Opposition as a counter-motion
for certification of a judgment under Federal Rule of Civil
Procedure 54(b) (“Rule 54(b)”), made applicable to the Motion and
in the adversary proceeding by Federal Rules of Bankruptcy
Procedure 9014(c) and 7054(a). The court notes that a court may
also issue a Rule 54(b) certification sua sponte. 10 MOORE'S
FEDERAL PRACTICE, § 54.21[1][a] (Matthew Bender 3d ed.)
(“MOORE'S”).

lli_AMALX§l§

This court has jurisdiction over the Motion_pursuant to 28
U.S.C. §§ 1334 and 157(b)(l). The Motion is a core proceeding
under 28 U.s.c. § 157<b><2)<c) and <i).'

A. Procedural Background

A brief history of the adversary proceeding is necessary.
As indicated above, the Plaintiffs filed their complaint on June
14, 2005. In their first two causes of action, the Plaintiffs
sought a determination that the attorney's fee award is
nondischargeable under ll U.S.C. § 523(a)(6) as a willful and-
malicious injury. In their third and fourth causes of action,
the Plaintiffs sought to deny the Defendant's discharge, pursuant
to ll U.S.C. § 727(a), for failure to keep adequate records and
for concealing property with the intent to hinder, delay, or
defraud creditors. n

The Defendant answered the complaint on September 9, 2005.

/ / /

 

2. The Defendant also argued that this court had no juris-
diction to resolve the Motion, due to her then pending district
court appeal. That issue has now been resolved by the district
Court's dismissal of the appeal, which is further discussed below,

-4_

 

 

klith

O\SOO\IO\

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

CaS€ 05-02225 Filed 03/03/08 DOC 234

On May 22, 2007, the parties filed cross-motions for summary
judgment. The Plaintiffs’ motion was actually a motion for
partial summary judgment, because it pertained only to the causes
of action to determine the attorney's fee award to be
nondischargeable under § 523(a)(6), and did not address the § 727
causes of action, Following briefing and oral argument, the
court denied the Defendant's motion for summary judgment, and
granted the Plaintiffs' motion in part. Specifically, the court
granted the motion to the extent that it sought to determine the
attorney's fee award to be nondischargeable3

Thus, on August 24, 2007, by way of the Partial Summary
Judgment Order, the attorney's fee award was declared

nondischargeable. The court deferred a determination of the

`amounts due under the attorney's fee award pending a subsequent

motion.

On September 4, 2007, the Defendant filed a Notice of Appeal
from the Partial Summary Judgment Order and a statement of
election to have the appeal heard by the district court.

In the absence of a Rule 54(b) certification,

any order or other decision, however designated, that

adjudicates fewer than all the claims or the rights and

liabilities of fewer than all the parties does not end
the action as to any of the claims or parties and may
be revised at any time before the entry of a judgment
adjudicating all the claims or all the parties' rights
and liabilities.

Fed. R. Civ. P. 54(b).

Thus, the Partial Summary Judgment Order, because it did not

address the Plaintiffs' § 727(a) causes of action, adjudicated

 

3. The court denied that portion of the motion seeking a
determination of nondischargeability as to other alleged debts.

_ 5 _

 

 

 

 

Case 05-02225 Filed O3/O3/08 DOC 234

fewer than all the claims in the adversary proceeding, and was
therefore not final. As a result, the district court granted the
Plaintiffs’ motion to dismiss the Defendant's appeal.4

In the meantime, on October 3, 2007, the Plaintiffs had
filed a motion in the adversary proceeding to determine the
amounts owed by the Defendant~on the nondischargeable attorney's
fee award. The motion was briefed and argued, and the_court
stated its findings and conclusions on the record at a hearing on
February 13, 2008. The court issued a minute order on February
19, 2008 (“Order Determining Amounts”), determining that the
amounts owed on the award were $122,702.37 to Clayeo C. Arnold
and $190,237.01 to Clayeo Arnold, Professional Law Corporation.
B. Rule 54(b) Certification

In the Motion, the Plaintiffs complain that they have been
unable to collect on the attorney's fee award. They “wish to
execute on Debtor's post petition wages,” and argue that “the
court's order of August 24, 2007 [the Partial Summary Judgment
Order] operates as a de facto lift of the automatic stay.”5 The
Defendant argues in response that the Partial Summary Judgment
Order “is just that, an order. lt is not a final judgment.”6
The Defendant is correct.

In effect, both parties want finality to the order; the

Plaintiffs so they can execute, and the Defendant so she can

 

4. Order Granting Appellees' Motion to Dismiss Appeal, filed
January 30, 2008, Hughes v. Arnold, Case No. CV 07-01841 LEW, U.S.
District Court for the Eastern District of California.

5. The Motion, 4:1-3.

6. The Opposition, 8:27-9 l.

_6_

 

[\)

.$>b)

O©OO\]O\U\

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 05-02225 Filed O3/O3/08 DOC 234

appeal. The goal of finality can be accomplished by
certification pursuant to Rule 54(b), which provides:

When an action presents more than one claim for relief

-- whether as a claim, counterclaim, crossclaim, or

third-party claim -- or when multiple parties are

involved, the court may direct entry of a final

judgment as to one or more, but fewer than all, claims

or parties only if the court expressly determines that

there is no just reason for delay,
Fed. R. Civ. P. 54(b).

The court is required to make an express determination that
there is no just reason for delay and to expressly direct the
entry of judgment. MOORE'S, § 54.21[3]. The court is to make
the determination in light of the policy of “prevent[ing]
piecemeal appeals in cases which should be reviewed only as
single units ” ld;, quoting Curtiss-Wriqht Corp. v. General
Electric Co., 446 U.S. l, 10 (1980). Further, an order may not
be certified under Rule 54(b) unless it finally disposes of the
claims adjudicated in the order. MOORE'S, § 54.22[2][a].

Taking these requirements in reverse order, the court finds
that the Partial Summary Judgment Orderj as supplemented by the
Order Determining Amounts, completely disposes of the first and
second causes of action of the Plaintiffs' complaint. Nothing
remains to be adjudicated in connection with those causes of
action.

Next, certifying the Partial Summary Judgment Order as final
will not offend the policy of preventing piecemeal appeals,
because the causes of action adjudicated in the order, the
Plaintiffs' first and second causes of action, are factually and

legally distinct from their third and fourth causes of action.

The first and second causes of action depend on facts that are

 

©OO\]O`\U`l-I>b~>[\.)

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

 

Case 05-02225 Filed O3/O3/08 DOC 234

starkly different from those alleged in the third and fourth

causes of action. The first and second causes of action seek a

different form of relief -- a determination that specific debts
are not dischargeable -- from the relief sought in the third and
fourth causes of action -- denial of the Defendant's discharge as

a whole. The grounds for the different forms of relief are
separate and distinct from each other. As a result, there is no
possibility of duplicative appellate review. In other words, “no

appellate court would have to decide the same issues more than

 

once even if there were subsequent appeals.” See Curtiss-Wriqht
Corp., 446 U.S. at 8.

Finally, the court finds no just reason for delay in
entering a final judgment on the Partial Summary Judgment Order,
In making this determination, the court is to consider whether a
Rule 54(b) certification “will alleviate some hardship or
injustice that would result from the delay in the entry of
judgment.” MOORE'S, § 54.23[11[b]. In this case, the court
finds that delaying entry of judgment would unfairly delay the
Plaintiffs' ability to recover on their claims against the
Defendant, and would unfairly delay the Defendant's right to
appellate review.

Accordingly, the court finds that there is no just reason
for delay, and directs the entry of a judgment on the Partial
Summary Judgment Order, as supplemented by the Order Determining
Amounts.

C. The Motion for Relief from Stay
Upon entry of a final appealable judgment on the Partial

Summary Judgment Order, as supplemented by the Order Determining

 

-I>L»)

O\OOO\IO'\'J\

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 05-02225 Filed O3/O3/08 DOC 234

Amounts, the automatic stay will no longer operate to preclude
execution on that judgment. “[T]he automatic stay provisions of
Section 362 do not preclude the execution of a judgment, which
has been held by the bankruptcy court to be non-dischargeable,
upon property of the debtor which is not property of the estate.”
Watson v. City Nat’l Bank (In re Watson), 78 B.R. 232, 235 (9th
Cir¢ BAP 1987); see also Arneson v. Farmers Ins. Exch. (ln re
Arneson), 282 B.R. 883, 892 (9th Cir. BAP 2002); Palm v.
Klapperman (In re Cadv), 266 B.R. 172, 180 (9th Cir. BAP 2001).
The creditor does not need to seek relief from the stay.

The Plaintiffs have not indicated in their Motion any
intention to seek to enforce the judgment against property of the
Defendant's bankruptcy estate. Instead, they intend to pursue
only property of the Defendant that is not property of the
estate. Thus, pursuant to Watson and gady, the Motion will be
denied as moot, by separate order filed in the parent case.

III. coNCLUsIoN

For the reasons set forth above, the court will issue an
order in the bankruptcy case denying the Motion as moot, will
issue an order in the adversary proceeding granting the
Defendant's counter-motion for certification of a final judgment,
and will enter in the adversary proceeding a judgment on the
Partial Summary Judgment Order, as supplemented by the Order

Determining Amounts.

Dated: March ;L, 2008 %z¢ua:#€dAuQA;¢:

ROBERT S. BARDWIL
United States Bankruptcy Judge

 

\COO\]O\KALDJ[\)»-a

N[\)NNNNNNNv-‘»-o-¢»-¢)-¢)-‘o-\r-¢>-¢¢-¢
OO\IO\§ll-¥>~Wl\)*'-‘O\OOQ\!O\LJ\-I>L)JN*-‘O

 

Case 05-02225 Filed O3/O3/08 DOC 234

Certificate of Service

The undersigned deputy clerk in the office of the United
States Bankruptcy Court for the Eastern District of California
hereby certifies that a true copy of the attached document was
mailed today to the following entities listed at the address(es)
shown below:

Office of the U.S. Trustee
50l "I" Street, Suite 7~500
Sacramento, CA 95814

Amelia Pritchard
980 9th Street, #1600
Sacramento, CA 95814

Jean Cain
6930 Los Olivos Way
Sacramento, CA 95608

Melanie Hughes
2150 Capitol Avenue, #100
Sacramento, CA 95816

lhomas Griffin Jr.
2150 River Plaza Dr., #450
Sacramento, CA 95833

John R. Roberts
P.O. BOX 1506
Placerville, CA 95667

FOR THE COURT
RICHARD G. HELTZEL
CLERK, U.S. BANKRUPTCY COURT

BY= \ (§/\/\ K(\M

"" Deputyx@lerk

 

